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                            UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                                  REGION 2
                                               290 BROADWAY
                                           NEW YORK, NY 10007-1866
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September 24, 2021

Via Electronic Mail
All Potential Buyers of Limetree Bay Refinery
c/o Elizabeth A. Green
egreen@bakerlaw.com

        Re:     Environmental information about the Limetree Bay Refinery; In re Limetree Bay Services,
                LLC, et al., Case No. 21-32351, pending in the United States Bankruptcy Court for the
                Southern District of Texas, Houston Division.

The United States Environmental Protection Agency (“EPA”) provides this letter to potential buyers of
the Limetree Bay Refinery in an attempt to provide a common base of information for all potential
bidders and minimize the risk of misunderstanding or surprise. This letter is merely informational, and
buyers should not interpret it as designed to either encourage or discourage a sale or any particular use
of the facility. This letter is not intended to be nor should be read as an exhaustive list of environmental
compliance, permitting, or liability issues related to the debtors or the refinery.

Limetree Bay Terminals, LLC, and Limetree Bay Refining, LLC (jointly, “Limetree Bay”) are also subject to
requirements contained in environmental permits issued by EPA and the Virgin Islands Department of
Planning and Natural Resources (“VIDPNR”), including Prevention of Significant Deterioration permits
issued by the EPA and a Clean Air Act Title V operating permit issued by VIDPNR. Any potential
purchaser of the facility will have to perform its own environmental due diligence, and any entity that
becomes an owner/operator of the refinery will have to employ environmental compliance staff who
maintain familiarity with all applicable environmental requirements and ensure that the refinery is
operated in compliance with applicable law.

I.      Audit Reports

The EPA issued an emergency order on May 14, 2021, requiring the refinery to cease operations for sixty
days. This order also required the debtors to retain independent third-party auditors to conduct an
environmental compliance audit and process area audits.

The debtors have obtained (a) an environmental compliance audit report, and (b) process area audits of
(1) the flare system, (2) the amine unit and sulfur recovery unit system, and (3) the delayed coker
system. The EPA sent a letter to the debtors on July 28, 2021, concerning the environmental compliance
audit report, and therein referenced a letter the EPA had sent to the debtors on June 9, 2021.

These audits and letters detail compliance issues under environmental law of which potential buyers
should be aware. The EPA recommends that any buyer review these documents.
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II.     2021 Complaint and Joint Stipulation

On July 12, 2021, the United States filed suit against Limetree Bay in the United States District Court for
the Virgin Islands, for injunctive relief for compliance with environmental law. Case No. 1:21-cv-264. On
the same day, the United States filed with the court a joint stipulation with Limetree Bay.

The joint stipulation requires Limetree Bay, among other things, to:

        (a)      Submit a plan for purging hydrocarbons from the refinery to bring the refinery to an
                 indefinite state of shutdown, including operation of ambient air monitors during the
                 purging process; 1

        (b)      Conduct the purging process in accordance with the EPA-approved Hydrocarbon Purge
                 Plan, subject to any modification necessary, and not begin purging without the EPA’s
                 approval;

        (c)      Except as otherwise provided in the stipulation, at least ninety days before restarting
                 the refinery or any refinery process unit:

                 (1)      Notify both the presiding court and the United States,
                 (2)      Submit the Corrective Action Plan required by the May 14 order to the EPA. The
                          plan must specify which measures must be completed before restarting the
                          refinery or a refinery process unit, and
                 (3)      Submit an ambient air monitoring plan to the EPA that includes operation of
                          hydrogen sulfide (H2S) and sulfur dioxide (SO2) monitors at nine EPA-identified
                          monitoring sites;

        (d)      Except as otherwise provided in the stipulation, at least thirty days before restarting the
                 refinery or any refinery process unit, install and operate the nine ambient air monitoring
                 sites plus a meteorological tower; and

        (e)      Before restarting the refinery or any refinery process unit, complete all measures
                 necessary to eliminate any imminent and substantial endangerment to public health or
                 welfare or the environment.

III.    2011 Consent Decree

On January 26, 2011, the United States and the United States Virgin Islands filed suit against HOVENSA
in the United States District Court for the Virgin Islands seeking injunctive relief and civil penalties for
alleged violations of the Clean Air Act, 42 U.S.C. §§ 7401-7671, and the Virgin Islands Air Pollution
Control Act. In conjunction with the filing of the complaint, the United States lodged a consent decree
resolving the claims alleged in the complaint. The court entered the consent decree on June 7, 2011.
The claims addressed in the 2011 consent decree included alleged violations of the Clean Air Act and its

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  Limetree has submitted to EPA, and EPA has approved, Phases 1 and 2 of the Hydrocarbon Purge Plan.
Information about Phases 1 and 2 can be found on the EPA website at https://www.epa.gov/vi/limetree-bay-
terminals-and-limetree-bay-refining-llc. Limetree has indicated that it expects to provide at least one additional
plan (Phase 3) to EPA for hydrocarbon purging, and that additional phases after Phase 3 may be necessary to fully
complete the purging process.
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implementing regulations, including prevention of significant deterioration provisions, the New Source
Performance Standards (“NSPS”), leak detection and repair (“LDAR”) provisions for equipment leaks,
and National Emission Standards for Hazardous Air Pollutants for benzene waste operations provisions.
The 2011 consent decree required HOVENSA to: reduce nitrogen oxide (“NOx”) emissions and control
SO2, particulate matter (“PM”), and carbon monoxide (“CO”) emissions from the refinery’s fluid catalytic
cracking unit; significantly reduce NOx emissions from the refinery’s heaters, boilers, generating
turbines, and compressor engines through the installation of pollution control equipment; reduce SO2
emissions by burning lower sulfur fuel oil and complying with H2S limits for fuel gas combustion
requirements for heaters, boilers, flares, and sulfur recovery plants; comply with regulatory
requirements for acid gas and hydrocarbon flaring, and implement a program to investigate and correct
the causes of flaring incidents and take preventive action; create a preventive maintenance and
operation plan for minimizing SO2 emissions from the sulfur recovery plant; reduce emissions of volatile
organic compounds (“VOCs”) through stricter LDAR requirements for equipment leaks and by replacing
valves that are leaking above a specified level with low emissions valves or low emissions valve packing;
and reduce emissions of benzene by improving management of benzene waste streams. The 2011
consent decree also required HOVENSA to pay $5,375,000 in civil penalties and deposit $4,875,000 into
an escrow account to be used to implement Territorial Supplemental Environmental Projects.

IV.     Modification of 2011 Consent Decree

On August 25, 2020, the United States lodged the proposed First Modification of the Consent Decree
with the court. The first modification was subject to a thirty day public comment period. After
reviewing and responding to public comments, the United States filed a motion to enter the First
Modification of the Consent Decree on April 26, 2021. The motion to enter is still pending before the
court. A second, non-material modification of the consent decree that does not require court approval
was also submitted to the court on April 26, 2021.

The First Modification adds Limetree Bay and the Environmental Response Trust (“ERT”) as parties to
the consent decree and transfers uncompleted or ongoing decree responsibilities to Limetree Bay and
the ERT, such that Limetree Bay and the ERT effectively step into the shoes of HOVENSA, and HOVENSA
is released from its decree obligations and liabilities as of the date of entry of the First Modification. The
First Modification also modifies the following deadlines and injunctive relief obligations to reflect the
changed operational realities of the refinery: (1) briefly extends the deadline for Limetree Bay to install
Qualifying Controls and apply for emission limits from the appropriate permitting authority sufficient to
achieve 3,663 tons per year of NOx emission reductions; (2) modifies the language to reflect the current
configuration of the East Side sulfur recovery plant (“SRP”) and extends the deadline for installing
control technology to control the sulfur emissions from the East Side SRP and comply with NSPS
Subparts A and Ja; (3) modifies the requirement to install and operate flare gas recovery systems
(“FGRS”) on certain flares in order to comply with NSPS Subpart Ja and potentially requires Limetree Bay
to perform mitigation projects if emissions exceed a specified level. Specifically, because the
operational profile of the refinery is now significantly different as compared to when the consent decree
was entered into in 2011, the First Modification conditions the installation of FGRS on the refinery’s
flaring emission levels after restart (as defined in the First Modification); providing that FGRS is not
required if flaring emissions remain below specified gas flow rates, but requiring Limetree Bay to install
and operate FGRS if the specified gas flow rates are exceeded 2, thereby ensuring the expected emission

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  On April 13, 2021, Limetree Bay submitted a letter to EPA acknowledging that it had exceeded the specified gas
flow rates, requiring Limetree Bay to install and operate FGRS on the FCCU Low Pressure Flare (Flare 8) by March 14,
2023.
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reduction benefits that were required by the 2011 consent decree are obtained while taking into
account the modified operating profile of the refinery; (4) modifies Section V.P (Benzene Waste NESHAP
Program) to reflect that HOVENSA selected the 6 BQ compliance option set forth in 40 C.F.R.
§ 61.342(e), and that Limetree Bay has agreed to redo the one-time review and verification of the
refinery’s total annual benzene (“TAB”) report following restart; (5) modifies Section V.R (LDAR
Program) to make the terms consistent with the more recent LDAR regulations, including lower leak
definitions, to ensure that a minimum of three audits will be conducted before the decree is terminated,
and to update the Valve Preventative Leak Maintenance Program; (6) modifies Section VIII.B (NSPS
Applicability: Boilers and Generating Turbines) to extend the deadline for demonstrating compliance
with NSPS Subparts A and GG at GT-4, GT-7, and GT-8, and to reflect that Limetree Bay has installed
combustion liner systems on GT-7 and GT-8 to reduce NOx emissions, and to operate at lower maximum
load limits on GT-4, GT-7, and GT-8 until Limetree Bay demonstrates compliance with NSPS Subparts A
and GG; (7) modifies Section IX.A (Territorial Supplemental Environmental Project) to reflect the transfer
of HOVENSA’s obligation to disburse monies for the Territorial Supplemental Environmental Project to
the ERT; and (8) modifies Section IX.B (Additional Work) to reflect that HOVENSA’s remaining obligations
for the VIWAPA Emissions Monitoring Assistance Program were transferred to the ERT [First
Modification ¶ 140A].

The consent decree conditions any transfer on the transferee executing a modification of the consent
decree which makes the terms and conditions applicable to the transferee.

V.      Prevention of Significant Deterioration Permit

A prospective purchaser may also be required to obtain a Prevention of Significant Deterioration (“PSD”)
permit under the Clean Air Act to restart the refinery. 42 U.S.C. § 7475; 40 C.F.R. § 52.21.

A PSD permit is required to construct any new “major stationary source” of air pollutants, as defined by
40 C.F.R. § 52.21(b)(1), or to make a “major modification” to any existing major stationary source, as
defined by 40 C.F.R. § 52.21(b)(2). See 40 C.F.R. § 52.21(a)(2)(iii). EPA has required PSD permits for
restarting long-dormant facilities that qualify as major stationary sources because this action can qualify
as either the construction of a new source or a major modification of an existing one. PSD permits must
include emission limits that constitute the Best Available Control Technology (“BACT”) to minimize the
emission of regulated pollutants. 42 U.S.C. §§ 7475(a)(4) and 7479(3); 40 C.F.R. § 52.21(b)(12), (j)(2)-(3).

PSD permitting is factually-driven. If the refinery is required to obtain a PSD permit, the permit will
require BACT to be installed and operational prior to restart of the refinery.

VI.     Additional Clean Air Act Requirements

As described in its complaint referenced in Section II, above, EPA has concerns about incidents of excess
release of H2S and SO2. The refinery must adhere to the H2S input gas concentration limit specified in 40
C.F.R. § 60.103a(h) and the refinery’s Title V operating permit of (a) 162 parts per million volume,
determined hourly on a 3-hour rolling average basis, for Flare #8 and the East Mix Drum Fuel Gas
System, and (b) 75 parts per million volume at the Coker Mix Drum Fuel Gas System. During incidents
where emissions exceed the 500-lb. SO2 threshold in a twenty-four hour period, the refinery is also
subject to requirements in 40 C.F.R. Part 60, Subpart Ja. Subpart Ja requires a regulated entity to
conduct a root cause and corrective action analysis whenever SO2 emissions from a flare exceed the
500-lb/day threshold.
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The Environmental Compliance Audit Report and the Flare Systems Audit Report also identified a
number of compliance issues related to Clean Air Act Risk Management Program (RMP) requirements,
such as requirements relating to Process Safety Information, Process Hazard Analysis, Operating
Procedures, and Training. Potential issues in these RMP elements are intended to be captured during
Prestartup Review, prior to introducing a regulated RMP substance to a process. The recent release
events at the refinery indicate potential failure of one or more RMP elements. A new owner or operator
would be responsible for ensuring that all RMP requirements are implemented and that the
interconnections between the program elements have been characterized to ensure compliance.
Attention to Process Safety Information and Mechanical Integrity program elements, especially as they
pertain to the safe design and maintenance of process areas in accordance with recognized and
generally accepted good engineering practices, will be important for any future owner/operator of the
refinery as they evaluate conformance with Prestartup Review and other program elements.

Prospective purchasers should evaluate the need for modifications to the facility’s Title V operating
permit under the Clean Air Act.

Finally, the EPA’s Petroleum Refinery Sector Rule, NESHAP Subpart CC, requires, among other things,
that oil refineries conduct fence line monitoring for benzene and that the annual average benzene
emissions stay below 9 μg/m3. Any purchaser will need to ensure compliance with this requirement.

VII.    Resource Conservation and Recovery Act

The Environmental Response Trust is addressing legacy contamination at the facility, in part with
funding from Limetree Bay Terminals. The trust is remediating contamination from HOVENSA’s
operations pursuant to a federal permit issued by EPA under the Resource Conservation and Recovery
Act (RCRA), 42 U.S.C. § 6901, et seq., under the oversight of EPA. While the legacy contamination
includes impacted groundwater subject to remediation under the permit, new contamination tied to
refinery and/or terminal operations is not covered by the RCRA permit. According to the ERT, new (non-
legacy) contamination has been detected in the groundwater. The ERT and Limetree Bay are working to
gather and analyze data to determine whether the refinery, terminal, or both caused the release(s)
resulting in the new contamination. Any future refinery owner will be obligated under RCRA to
remediate contamination on or migrating from the property it acquires. A future owner subject to such
obligations may seek contribution and/or cost recovery from any liable third party to the extent allowed
by law, and may propose to reach an understanding, or enter into an agreement, with the federal
and/or local government concerning such obligations.

VIII.   Clean Water Act

On August 13, 2021, the EPA sent a letter to Limetree Bay notifying them of potential violations of
Sections 301(a), 308, and 402 of the Clean Water Act, 33 U.S.C. §§ 1311(a), 1318(a) and 1342, and
providing them with a copy of EPA’s inspection report. A purchaser of the refinery will need to comply
with the Clean Water Act, including by correcting any violations that are ongoing at the time of the
transfer.
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IX.     Additional Matters

As previously stated, any prospective purchaser should carry out its own due diligence concerning
potential environmental liabilities and obligations. EPA has not performed a comprehensive
environmental compliance review of the refinery facility, and EPA does not represent that the
information contained in this letter identifies all environmental violations that a new owner would have
to address, nor all environmental obligations for which a new owner would be responsible.


                                                Sincerely,
                                                DORE               Digitally signed by DORE
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                                                Dore LaPosta, Director
                                                Enforcement and Compliance Assurance Division
